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UNITED STATES DISTRICT COURT
WESTERNDISTRICTOF TENNESS%§ 'EFR 18 mg q, d ,
Westem Division `

Ojj?ce of the Clerk ROBERT F_' 33 -` 7 ,r \(`\_?

MT§ arms
Roberr R. 1): Tmlia, Clerk W~L"- O' ' Depuo»-in-charge
242 Federal Building U. S. Courthouse, Room 262
167N. Main S!reet 111 South Highland Avenue
Memphc's, Tennessee 331 03 Jackson, Tennessee 38301
(901) 495-1200 (731) 421-9200

 

NOTICE OF RE-SETTING
Before Judge Bernice B. Donald, United States District Judge

 

April 18, 2005

RE: 2:020r20440-D
USA v. YER VINKEITH BARNETT (c)

Dear Sir/Madam:

A RE-SENTENCING HEARING has been RESET before Judge Bernice B. Don ald from
MONDAY, MAY 2, 2005 at 1:30 P.M. to TUESDAY, JUNE 7, 2005 at 1:30 P.M. in Courtroom
3, 9th floor of the Federal Building, Memphis, Tennessee.

If you have any questions, please contact the case manager at the number provided below.

Sincerely,
ROBERT R. DI TROLIO, CLERK

{M//</

rry L. Haley
Case Manager for Judge Berniee B. Donald
901-495-1276

"*-.

 

ISTRIC COURT - WESTERN D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 103 in
case 2:02-CR-20440 Was distributed by faX, mail, or direct printing on
April 19, 2005 to the parties listed.

 

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Honorable Bernice Donald
US DISTRICT COURT

